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                    EXHIBIT A
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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY

                                                   :
    IN RE: LIQUID ALUMINUM                         :    Civil Action No. 16-md-2687-JLL-JAD
    SULFATE ANTITRUST LITIGATION                   :
                                                   :
    This Document Relates to                       :
    Indirect Purchaser Plaintiffs                  :
                                                   x


   DECLARATION OF MARVIN A. MILLER IN SUPPORT OF INDIRECT PURCHASER
   PLAINTIFFS’ MOTION FOR REIMBURSEMENT OF EXPENSES AND FOR AWARD
           OF INCENTIVE PAYMENTS TO CLASS REPRESENTATIVES


          Marvin A. Miller, declares and states:
              1. I am one of the Co-Lead Counsel for the Indirect Purchaser Plaintiffs and make this
                 declaration based on my personal knowledge and if called as a witness I would be
                 competent to testify and would testify to the facts contained herein.

              2. During the course of this litigation, I have been responsible for the payment of
                 invoices reasonably incurred for the prosecution of the case. As of this date, Co-
                 Lead Counsel have incurred certain external expenses for which we seek
                 reimbursement at this time. Those expenses are as follows:
                     (a) expert witness analysis expenses in the sum of $982,519.80;
                     (b) the cost of third-party database hosting vendors in the sum of $231,607.67;
                     (c) the cost of implementing the Notice Plan approved by this Court and
                     disseminating Notice to the Class (using A.B. Data, Ltd.), in the sum of
                     $77,712.57;
                     (d) transcripts in the sum of $2,686.13; and
                     (e) mediation and Special Master expenses (Pilgrim Mediation Group and
                     Hochberg ADR, respectively) in the sum of $45,305.00.
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          3. Based upon my experience, these categories of expenses are the type routinely charged
          to hourly-fee paying clients in preparation for a modern-day antitrust case of this size and
          scope.
          The foregoing is true and correct and is executed under the penalties of perjury pursuant

   to the laws of the United States in Chicago, IL on August 17, 2018.

                                                               s/Marvin A. Miller
                                                               Marvin A. Miller




    
